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    EXHIBIT B
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
WILLIAMS INDUSTRIAL SERVICES
GROUP INC., et al.,1                                       Case No. 23-#####-10961 (BLS)

                                                           (Jointly Administered)
         Debtors.
                                                           Related D.I.: 33, 83, 196

         ORDER (A) APPROVING THE SALE OF ASSETS FREE AND CLEAR
       OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS, AND ENCUMBRANCES,
      (B) AUTHORIZING THE DEBTORS TO PERFORM THEIR OBLIGATIONS
        UNDER THE PURCHASE AGREEMENT AND OTHER TRANSACTION
    DOCUMENTS, (C) AUTHORIZING AND APPROVING THE ASSUMPTION AND
     ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
       LEASES RELATED THERETO, AND (D) GRANTING RELATED RELIEF

         Upon the motion [Docket No. [●]33] (the “Original Sale Motion”), of the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), as amended and

supplemented by the Amendment and Supplement to Motion for Entry of an Order (I) Approving

Bidding Procedures for the Sale of Assets, (II) Scheduling Hearings and Objection Deadlines

with Respect to the Debtors’ Authority to Sell, (III) Scheduling Bid Deadlines and an Auction,

(IV) Approving the Form and Manner of Notice Thereof, (V) Approving Contract Assumption

and Assignment Procedures, and (VI) Granting Related Relief [Docket No. 83] (the “Sale

Motion Supplement” and, together with the Original Sale Motion, the “Sale Motion”), seeking

entry of an order (this “Sale Order”), pursuant to sections 105, 363 and 365 of title 11 of the



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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
    (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
    Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925),
    Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power
    Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and
    WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is:
    200 Ashford Center N, Suite 425, Atlanta, GA 30338.


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United States Code (the “Bankruptcy Code”), Rules 2002, 6004 and 6006 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1, 6004-1 and 9006-1 of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), (a) authorizing and approving the Debtors’ entry into

and performance under the terms and conditions of that certain Asset Purchase Agreement, dated

as of July [●]22, 2023 (together with the schedules and/or exhibits thereto and all related

documents, and as may be amended, supplemented or otherwise modified from time to time after

the date hereof in accordance with paragraph 33 of this Sale Order, the “Purchase Agreement”),2

attached hereto as Exhibit 1, by and among Williams Industrial Services Group Inc., Williams

Industrial Services Group, L.L.C., Williams Industrial Services LLC, Construction &

Maintenance Professionals, LLC, WISG Electrical, LLC, Williams Plant Services, LLC, and

Williams Specialty Services, LLC (each a “Seller”, and together, the “Sellers”) and

EnergySolutions Nuclear Services, LLC (together with its subsidiaries and permitted assignees

under the Purchase Agreement, the “Buyer”), as amended by that certain side letter amendment

to the Purchase Agreement attached hereto as Exhibit 2, and all other ancillary documents,

including, without limitation, the Transition Services Agreement and Reverse Transition

Services Agreement (together with the Purchase Agreement, the “Transaction Documents”), (b)

authorizing and approving the sale (collectively, and including all actions taken or required to be

taken in connection with the implementation and consummation of the Purchase Agreement, the

“Sale”) of the Transferred Assets (as defined in the Purchase Agreement) free and clear of all

Liens, Claims, Interests, and other Liabilities, except to the extent set forth in the Purchase

Agreement, Permitted Liens, and the assumption of the Assumed Liabilities to the extent set

2
    Capitalized terms used but not otherwise defined herein have the meaning given to such terms in the Purchase
    Agreement or Bidding Procedures Order (as defined herein), as applicable.

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forth in the Purchase Agreement upon the closing of the Sale (the “Closing”), (c) authorizing the

assumption and assignment of certain of the Sellers’ (as applicable) executory contracts and

unexpired leases related thereto as set forth on the applicable schedules to the Purchase

Agreement (each, a “Buyer Assumed Agreement,” and, collectively, the “Buyer Assumed

Agreements”), upon the Closing, subject to payment by the Buyer of all costs necessary to cure

any defaults arising under any Buyer Assumed Agreement to the extent required by section

365(b) of the Bankruptcy Code, and (d) granting related relief, all as more fully set forth in the

Sale Motion; and this Court having entered the [Order (AI) Approving Bidding Procedures in

Connection withfor the Sale of Debtors’ Assets;, (BII) Authorizing and Approving the Stalking

Horse Agreement and Bid Protections; Scheduling Hearings and Objection Deadlines with

Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (CIV) Approving Procedures

for the Form and Manner of Notice Thereof, (V) Approving Assumption and Assignment of

CertainProcedures for Executory Contracts and Unexpired Leases;, (DVI) Scheduling a Sale

Hearing;Authorizing and Approving the Debtors’ Entry Into the Stalking Hose APA, (EVII)

Authorizing and Approving the Form and Manner of Notice Thereof;Bid Protections, and

(FVIII) Granting Related Relief] [Docket No. [●]196] (the “Bidding Procedures Order”); [and

the Debtors having conducted an auction (the “Auction”) for the Transferred Assets]; and the

Debtors, in consultation with the [Consultation Parties] (as defined in the Bidding Procedures),

having determined that the Buyer has submitted the highest or otherwise best bid for the

Transferred Assets and determined that the Buyer is the Successful Bidder and that [●] is the

Back-Up Bidder (as defined in the Bidding Procedures), in accordance with the Bidding

Procedures; and the Court having conducted a hearing on the Sale Motion (the “Sale Hearing”)

on [●]September 7, 2023, at which time all interested parties were offered an opportunity to be


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heard with respect to the Sale Motion; and the Court having reviewed and considered the Sale

Motion, the Purchase Agreement, and any and all objections to the Sale, the Purchase Agreement

and the other Transaction Documents filed in accordance with the Bidding Procedures Order;

and the Court having heard statements of counsel and the evidence presented in support of the

relief requested in the Sale Motion at the Sale Hearing and in the [Declaration of [●]Tracy D.

Paglia in Support of Chapter 11 Petitions and First Day ReliefPleadings [Docket No. [●2]] and,

the Declaration of [●]David Shim of Greenhill & Co., Inc. in Support of Debtors’ Sale Motion

to Approve Bidding Procedures in Connection With[Docket No. 35], and the Declaration of

Steven E. Birchfield in Support of the Debtors’ Sale of Assets]Motion and EnergySolutions

Nuclear Services, LLC’s Adequate Assurance of Future Performance [Docket No. [●]243]; and

it appearing that due notice of the Sale Motion, the Sale Hearing, the Purchase Agreement, and

the Sale has been provided; and it appearing that the relief requested in the Sale Motion is in the

best interests of the Debtors, their estates, their stakeholders, and all other parties in interest; and

it appearing that the Court has jurisdiction over this matter; and it appearing that the legal and

factual bases set forth in the Sale Motion and at the Sale Hearing establish just cause for the

relief granted herein; and after due deliberation;




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         IT IS HEREBY FOUND, CONCLUDED AND DETERMINED THAT:

                             Jurisdiction, Venue, and Final Order

         A.     This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28

U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

proper in this District and in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         B.     This Sale Order constitutes a final and appealable order within the meaning of 28

U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d) or any other

applicable Bankruptcy Rule, and to any extent necessary under Bankruptcy Rule 9014 and

Federal Rule of Civil Procedure 54(b), as made applicable by Bankruptcy Rule 7054, the Court

expressly finds that there is no just reason for delay in the implementation of this Sale Order and

the terms and conditions of this Sale Order should be immediately effective and enforceable

upon its entry, and expressly directs entry of judgment as set forth herein.

         C.     The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052 made applicable to this

proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of

fact constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such. The Court’s findings

also shall include any oral findings of fact and conclusions of law made by the Court during the

Sale Hearing.

                       Notice of the Sale Motion, Auction, Sale Hearing,
                       Purchase Agreement and Sale and the Cure Costs

         D.     As evidenced by declarations and/or affidavits of service and publication

previously filed with this Court [see Docket Nos. [●]33 at ¶ 58, 216, 217, and [●]234], proper,




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timely, adequate, and sufficient notice of the Sale Motion, the Auction, the Sale Hearing, the

Purchase Agreement, and the Sale has been provided in accordance with sections 102(1), 363,

and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007 and 9014, and Local

Rules 2002-1, 6004-1 and 9006-1. The Debtors have complied with all obligations to provide

notice of the Sale Motion, the Bid Deadline, the Auction, the Sale Hearing, the Purchase

Agreement, and the Sale as required by the Bidding Procedures Order. The foregoing notice was

good, sufficient, and appropriate under the circumstances, and no other or further notice of the

Sale Motion, the Bid Deadline, the Auction, the Sale Hearing, the Purchase Agreement, or the

Sale is required. With respect to entities whose identities are not reasonably ascertained by the

Debtors, publication of the Sale Notice (as defined in the Sale Motion) in [The New York

Times] on [●]August 24, 2023, as evidenced by the [AffidavitProof of Publication] filed on

[●]August 25, 2023 [Docket No. [●]217] was sufficient and reasonably calculated under the

circumstances to reach such entities.

         E.    A reasonable opportunity to object or to be heard regarding the relief requested in

the Sale Motion was afforded to all interested persons and entities.

         F.    In accordance with the Bidding Procedures Order, the Debtors have served a

notice of their intent to assume and assign the Buyer Assumed Agreements and of the Cure

Costs upon each counterparty to a Buyer Assumed Agreement as set forth in the [Notice of

Potential Assumption and Assignment ofto Contract Parties to Potentially Assumed Executory

Contracts and Unexpired Leases in Connection with Proposed Sale of Assets [Docket No. [●]]

(the203] (the “First Cure Notice”) and the Second Notice to Contract Parties to Potentially

Assumed Executory Contracts and Unexpired Leases [Docket No. 249] (the “Second Cure

Notice” and, together with the First Cure Notice, each a “Cure Notice” and collectively the


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“Cure Notices”). The Cure Notice reflectsNotices reflect the amounts the Debtors proposed as

the costs (each a “Cure Cost”) necessary to cure any defaults under each Buyer Assumed

Agreement. The service and provision of such notice was good, sufficient, and appropriate

under the circumstances and no further notice need be given in respect of assumption and

assignment of the Buyer Assumed Agreements or establishing a Cure Cost for the respective

Buyer Assumed Agreements. Counterparties to the Buyer Assumed Agreements have been

provided with an adequate opportunity to object to assumption and assignment of the applicable

Buyer Assumed Agreements and the Cure Costs set forth in the Cure NoticeNotices (including

objections related to the adequate assurance of future performance and objections based on

whether applicable law excuses the counterparty from accepting performance by, or rendering

performance to, the Buyer for purposes of section 365(c)(1) of the Bankruptcy Code). All

objections, responses, or requests for adequate assurance in connection with the assumption and

assignment of the Buyer Assumed Agreements that are not adjourned as set forth in this Sale

Order or as otherwise set forth on the record at the Sale Hearing have been resolved, overruled,

or denied, as applicable, except with respect to any Buyer Assumed Agreements listed in the

Second Cure Notice, for which the objection deadline is September 15, 2023, and a hearing, if

necessary, will be held at a date and time to be determined with respect to any unresolved

disputes regarding the assumption and assignment of any contracts and leases listed in the

Second Cure Notice.

                                    Highest and Best Offer

         G.    As demonstrated by the evidence proffered or adduced at the Sale Hearing, and

the representations of counsel made on the record at the Sale Hearing, the Debtors conducted a

sale process in accordance with, and have, along with the Buyer, complied in all material


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respects with, the Bidding Procedures Order and afforded a full, fair, and reasonable opportunity

for any interested party to make a higher or otherwise better offer to purchase the Transferred

Assets and assume the Assumed Liabilities.

         H.    (i) The Debtors and their advisors engaged in a robust and extensive marketing

and sale process, both prior to the commencement of these Chapter 11 Cases and through the

post-petition sale process in accordance with the Bidding Procedures Order and the sound

exercise of the Debtors’ business judgment; (ii) the Debtors conducted a fair and open sale

process; (iii) the sale process, and the Bidding Procedures, and the Auction were non-collusive,

duly noticed, and provided a full, fair, reasonable, and adequate opportunity for any entity that

either expressed an interest in acquiring the Transferred Assets, or who the Debtors believed

may have had an interest in acquiring the Transferred Assets, to make an offer to purchase the

Debtors’ assets, including, without limitation the Transferred Assets; (iv) the Debtors and the

Buyer have negotiated and undertaken their roles leading to the entry into the Purchase

Agreement in a diligent, non-collusive, fair, reasonable, and good faith manner; and (v) the sale

process conducted in good faith by the Debtors pursuant to the Bidding Procedures Order and

the Bidding Procedures resulted in the highest or otherwise best value for the Transferred Assets

for the Debtors and their estates, was in the best interests of the Debtors, their creditors, and all

parties in interest. Consummating the Sale will yield greater value to the Debtors’ estates than

would have been provided by any other available alternative transaction. There is no legal or

equitable reason to delay consummation of the Purchase Agreement and the transactions

contemplated therein.

         I.    The Debtors have determined, in a valid and sound exercise of their business

judgment and in consultation with their advisors and the [Consultation Parties], that the next


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highest or otherwise best Qualified Bid (the “Designated Back-Up Bid”) for the Transferred

Assets was that of [●] (the “Designated Back-Up Bidder”)[Reserved].

         J.     Approval of the Sale Motion and the Purchase Agreement, and the consummation

of the Sale contemplated thereby, is in the best interests of the Debtors, their respective creditors,

estates, and other parties in interest. The Debtors have demonstrated good, sufficient, and sound

business reasons and justifications for entering into the Sale and the performance of their

obligations under the Purchase Agreement.

         K.     The consummation of the Sale outside a plan of reorganization pursuant to the

Purchase Agreement neither impermissibly restructures the rights of the Debtors’ creditors nor

impermissibly dictates the terms of a plan of reorganization or liquidation for the Debtors. The

Sale does not constitute a sub rosa chapter 11 plan.

         L.     Entry of an order approving the Purchase Agreement and all the provisions

thereof is a necessary condition precedent to Buyer’s consummation of the Sale, as set forth in

the Purchase Agreement.

                                       Good Faith of Buyer

         M.     The consideration to be paid by the Buyer under the Purchase Agreement was

negotiated at arm’s-length, in good faith and without collusion pursuant to section 363(m) of the

Bankruptcy Code and constitutes reasonably equivalent value and fair and adequate

consideration for the Transferred Assets. Specifically: (i) the Buyer recognized that the Debtors

were free to deal with any other party interested in purchasing the Transferred Assets; (ii) the

Buyer complied in all respects with the applicable provisions of the Bidding Procedures Order in

negotiating and entering into the Purchase Agreement and the other Transaction Documents, and

the Purchase Agreement, the other Transaction Documents and the transactions described therein


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comply with the Bidding Procedures Order; (iii) the Buyer agreed to subject its bid to the

competitive bid procedures set forth in the Bidding Procedures Order; (iv) all payments made or

to be made by the Buyer in connection with the Sale have been disclosed in the Purchase

Agreement; (v) no common identity of directors, officers or controlling stockholders exists

among the Buyer and the Debtors and Buyer is not an “insider” or “affiliate” of the Debtors, as

those terms are defined in the Bankruptcy Code; (vi) the negotiation and execution of the

Purchase Agreement and the other Transaction Documents were at arm’s-length and in good

faith without collusion or fraud, and at all times each of the Buyer and the Debtors were

represented by competent counsel of their choosing; and (vii) the Buyer has not acted in a

collusive manner with any person and at all times acted in good faith and reasonably. The Buyer

will be acting in good faith within the meaning of section 363(m) of the Bankruptcy Code in

closing the transactions contemplated by the Purchase Agreement and the other Transaction

Documents.      The terms and conditions set forth in the Purchase Agreement are fair and

reasonable under the circumstances and were not entered into for the purpose of, nor do they

have the effect of, hindering, delaying, or defrauding the Debtors or their creditors under any

applicable laws.

         N.     The Debtors and the Buyer, and each of their respective management, boards of

directors, members, officers, directors, employees, agents, and representatives, have acted in

good faith in connection with negotiations and entry into the Purchase Agreement. The Purchase

Agreement and the other Transaction Documents, and each of the transactions contemplated

therein, were negotiated, proposed, and entered into by the Debtors and the Buyer in good faith,

without collusion or fraud, and from arm’s-length bargaining positions. The Buyer is a “good




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faith purchaser” within the meaning of section 363(m) of the Bankruptcy Code, and, as such, is

entitled to all the protections afforded thereby.

                                      No Fraudulent Transfer

         O.     The consideration provided by the Buyer pursuant to the Purchase Agreement for

its purchase of the Transferred Assets and the assumption of the Assumed Liabilities constitutes

reasonably equivalent value and fair consideration under the Bankruptcy Code, the Uniform

Voidable Transactions Act, the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent

Transfer Act, and under the laws of the United States, all states, territories, possession thereof,

and the District of Columbia.

         P.     Neither the Buyer nor its past, present and future subsidiaries, parents, divisions,

affiliates, agents, representatives, insurers, attorneys, successors and assigns, nor any of its nor

their respective directors, managers, officers, employees, shareholders, members, agents,

representatives, attorneys, contractors, subcontractors, independent contractors, owners,

insurance companies or partners (each, a “Buyer Party”) is a continuation of the Debtors or their

respective estates and no Buyer Party is holding itself out to the public as a continuation of the

Debtors or their respective estatesbased on the Sale, the Asset Purchase Agreement, or this Order

and the Sale does not amount to a consolidation, merger, or de facto merger of the Buyer (or any

other Buyer Party) and the Debtors.

                                        Validity of Transfer

         Q.     Each Seller’s board of directors has authorized the execution and delivery of the

Purchase Agreement and the Sale of the Transferred Assets to the Buyer. The Debtors (i) have

full corporate power and authority to execute and deliver the Purchase Agreement and all other

documents contemplated thereby, as applicable, (ii) have all of the power and authority



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necessary to consummate the Sale, and (iii) have taken all action necessary to authorize and

approve the Purchase Agreement and to consummate the Sale, and no further consents or

approvals, other than those expressly provided for in the Purchase Agreement, are required for

the Debtors to consummate the transactions contemplated by the Purchase Agreement. The

Transferred Assets constitute property of the Debtors’ estates within the meaning of section

541(a) of the Bankruptcy Code and title thereto is presently vested in the Debtors’ estates.

                                    Section 363(f) Is Satisfied

         R.     The Sale of the Transferred Assets to the Buyer and the assumption and

assignment to the Buyer of the Buyer Assumed Agreements (including Buyer’s payment of any

Cure Costs) under the terms of the Purchase Agreement meets the applicable provisions of

section 363(f) of the Bankruptcy Code such that the Sale of the Transferred Assets will be free

and clear of all Liens, Claims, Interests, and other Liabilities, whether known or unknown, and

will not subject any Buyer Party to any liability for any Liens, Claims, Interests, or other

Liabilities whatsoever (including, without limitation, under any theory of equitable law,

antitrust, or successor or transferee liability), except as expressly provided in the Purchase

Agreement with respect to Assumed Liabilities. All holders of Liens, Claims, Interests, or other

Liabilities who did not object, or withdrew their objections to the Sale, are deemed to have

consented to the Sale pursuant to section 363(f)(2) of the Bankruptcy Code, and all holders of

Liens, Claims, Interests, or other Liabilities are adequately protected—thus satisfying section

363(e) of the Bankruptcy Code—by havingthe fact that their Liens, Claims, Interests, or other

Liabilities, if any, attach to the proceeds of the Sale ultimately attributable to the property

against or in which they assert Liens, Claims, Interests, or other Liabilities, in the same order of

priority and with the same validity, force, and effect that such holder had prior to the Sale,


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subject to any rights, claims, and defenses of the Debtors or their estates, as applicable; provided

however, that Sale proceeds are paid to the Agents3 at Closing as provided in paragraph 11

below. Those holders of Liens, Claims or other Liabilities who did object and that have an

interest in the Transferred Assets fall within one or more of the other subsections of section

363(f) of the Bankruptcy Code. As used in this Order, the term “Interest” includes, in each case

to the extent against or with respect to any of the Debtors or in, on, or against or with respect to

any of the Transferred Assets: debts (as defined in section 101(12) of the Bankruptcy Code),

encumbrances, obligations, demands, guarantees, actions, suits, defenses, deposits, credits,

allowances, options, rights, restrictions, limitations, contractual commitments, rights, or interests

of any kind or nature whatsoever, whether known or unknown, inchoate or not, filed or unfiled,

scheduled or unscheduled, noticed or unnoticed, recorded or unrecorded, perfected or

unperfected, allowed or disallowed, contingent or non-contingent, liquidated or unliquidated,

matured or unmatured, material or non-material, disputed or undisputed, whether arising prior to

or subsequent to the commencement of these Chapter 11 Cases, and whether imposed by

agreement, understanding, law, equity, or otherwise, including, but not limited to, (i) mortgages,

deeds of trust, pledges, charges, security interests, hypothecations, encumbrances, easements,

servitudes, leases, subleases, rights-of-way, encroachments, restrictive covenants, restrictions on

transferability or other similar restrictions, rights of offset or recoupment(except for setoffs

exercised prior to the Petition Date), rights of use or possession, subleases, leases, conditional

sale arrangements, or any similar rights, (ii) all rights or causes of action (whether in law or

equity), proceedings, warranties, guarantees, indemnities, rights of recovery, setoff, recoupment,



3
 As used herein, the term Agents refers collectively to PNC Bank, N.A. in its capacity as Prepetition Revolving
Agent and DIP Revolving Agent, and EICF Agent LLC in its capacity as Prepetition Term Agent and DIP Term
Agent.

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indemnity or contribution, obligations, demands, restrictions, indemnification claims, or

liabilities relating to any act or omission of the Debtors or any other person, consent rights,

options, contract rights, covenants, and interests of any kind or nature whatsoever (known or

unknown, matured or unmatured, accrued, or contingent and regardless of whether currently

exercisable), whether arising prior to or subsequent to the commencement of these Chapter 11

Cases, and whether imposed by agreement, understanding, law, equity or otherwise; (iii) all

debts, liabilities, obligations, contractual or tort rights and claims, and labor, employment, and

pension claims; (iv) any rights that purport to give any party a right or option to effect any

forfeiture, modification, right of first offer or first refusal, or consents, or termination of the

Debtors’ or the Buyer’s interest in the Transferred Assets, or any similar rights; (v) any rights

under labor or employment agreements; (vi) any rights under pension, multiemployer plan (as

such term is defined in section 3(37) or section 4001(a)(3) of the Employment Retirement

Income Security Act of 1974 (as amended, “ERISA”), health or welfare, compensation or other

employee benefit plans, agreements, practices, and programs, including, without limitation, any

pension plans of the Debtors or any multiemployer plan to which the Debtors have at any time

contributed to or had any liability or potential liability; (vii) any other employee, worker’s

compensation, occupation disease, or unemployment or temporary disability claims, including,

without limitation, claims that might otherwise arise under or pursuant to (a) ERISA, (b) the Fair

Labor Standards Act, (c) Title VII of the Civil Rights Act of 1964, (d) the Federal Rehabilitation

Act of 1973, (e) the National Labor Relations Act, (f) the Age Discrimination and Employment

Act of 1967 and Age Discrimination in Employment Act, each as amended, (g) the Americans

with Disabilities Act of 1990, (h) the Consolidated Omnibus Budget Reconciliation Act of 1985,

as amended, including, without limitation, the requirements of Part 6 of Subtitle B of Title I of


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ERISA and Section 4980B of the Internal Revenue Code of any similar state law, (i) state

discrimination laws, (j) state unemployment compensation laws or any other similar state laws,

(k) any other state or federal benefits or claims relating to any employment with the Debtors or

any of their predecessors, or (l) the WARN Act (29 U.S.C. §§ 2101, et seq.) or any state or other

laws of similar effect; (viii) any bulk sales or similar law; (ix) any tax statutes or ordinances,

including, without limitation, the Internal Revenue Code of 1986, as amended, and any taxes

arising under or out of, in connection with, or in any way relating to the operation of the assets or

businesses of the Debtors prior to the Closing; (x) any unexpired and executory or non-executory

contract or unexpired lease to which a Debtor is a party that is not a Buyer Assumed Agreement;

(xi) any other Excluded Liabilities under the Purchase Agreement; and (xii) Interests arising

under or in connection with any acts, or failures to act, of any of the Debtors or any of the

Debtors’ predecessors, Affiliates, or Subsidiaries, including, but not limited to, Interests arising

under any doctrines of successor, transferee, or vicarious liability, violation of the Securities Act,

the Exchange Act, or other applicable securities laws or regulations, breach of fiduciary duty, or

aiding or abetting breach of fiduciary duty, or any similar theories under applicable Law or

otherwise.

         S.     The transfer of the Transferred Assets to the Buyer under the Purchase Agreement

will be a legal, valid, and effective transfer of all of the legal, equitable, and beneficial right,

title, and interest in and to the Transferred Assets free and clear of all Liens, Claims, Interests,

and other Liabilities, except for Permitted Liens and as expressly provided in the Purchase

Agreement. The Sellers may sell their interests in the Transferred Assets free and clear of all

Liens, Claims, Interests, and other Liabilities with the Sale proceeds paid in accordance with

paragraph 11 below, and in each case, one or more of the standards set forth in section 363(f) has


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been satisfied. The Buyer would not have entered into the Purchase Agreement and Transaction

Documents and would not consummate the transactions contemplated thereby, including,

without limitation, the Sale and the assumption and assignment of the Buyer Assumed

Agreements (i) if the transfer of the Transferred Assets were not, except for Permitted Liens and

as otherwise expressly provided in the Purchase Agreement, free and clear of all Liens, Claims,

Interests, and other Liabilities of any kind or nature whatsoever, including, without limitation,

rights or claims based on any successor, transferee, derivative or vicarious liability or any similar

theory and/or applicable state or federal law or otherwise, whether at this time known or

unknown, or (ii) if the Buyer or any of its affiliates or designees would, or in the future could, be

liable for any interests or other Liabilities, including, without limitation, rights or claims based

on any successor, transferee, derivative or vicarious liability or any similar theory and/or

applicable state or federal law or otherwise, in each case subject only to Permitted Liens and the

Assumed Liabilities and expressly excluding the Excluded Liabilities. Not transferring the

Transferred Assets free and clear of all Liens, Claims, Interests, and other Liabilities of any kind

or nature whatsoever, except for Permitted Liens and as otherwise expressly provided in the

Purchase Agreement, including, without limitation, rights or claims based on any successor,

transferee, derivative or vicarious liability or any similar theory and/or applicable state or federal

law or otherwise (subject only to the Assumed Liabilities), would adversely impact the Debtors’

efforts to maximize the value of their estates.

                Assumption and Assignment of the Buyer Assumed Agreements

         T.     The assumption and assignment of the Buyer Assumed Agreements pursuant to

the terms of this Sale Order are integral to the Purchase Agreement, are in the best interests of




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the Debtors and their respective estates, creditors, and other parties in interest, and represent the

reasonable exercise of sound and prudent business judgment by the Debtors.

         U.     The Debtors have met all requirements of section 365(b) and (f) of the

Bankruptcy Code for assumption and assignment of each of the Buyer Assumed Agreements.

The Buyer and/or the Debtors have (i) cured and/or provided adequate assurance of cure

(including through Buyer’s payment of any Cure Costs) of any default existing prior to the

Closing under all of the Buyer Assumed Agreements within the meaning of section 365(b)(1)(A)

of the Bankruptcy Code, (ii) provided compensation or adequate assurance of compensation to

any counterparty for actual pecuniary loss to such party resulting from a default prior to the

Closing under any of the Buyer Assumed Agreements within the meaning of section

365(b)(1)(B) of the Bankruptcy Code, and (iii) provided adequate assurance of future

performance within the meaning of section 365(b)(1)(C) of the Bankruptcy Code. The Buyer

has provided adequate assurance of future performance within the meaning of sections

365(b)(1)(C) and 365(f)(2)(B) and in accordance with the Bidding Procedures to the extent that

any such assurance is required and not waived by the counterparties to such Buyer Assumed

Agreements.

         V.     At any time prior to the Closing and prior to the rejection of an executory contract

or unexpired lease, the Debtors shall have the right, upon request of the Buyer and in accordance

with the Bidding Procedures Order, to serve a [Supplemental Cure Notice] upon any non-Debtor

counterparty thereto indicating the Debtors’ intent to assume and assign (but not reject) such

executory contract or unexpired lease.        The objection deadline for all Buyer Assumed

Agreements, other than those subject to the Second Cure Notice, lapsed on [●]September 5,

2023. Objections, if any, to the proposed assumption and assignment or the Cure Cost proposed


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in any [Supplemental Cure Notice] with respect thereto, must (i) be in writing, (ii) comply with

the applicable provisions of the Bankruptcy Rules and the Local Rules, (iii) state with specificity

the nature of the objection and, if the objection pertains to the proposed Cure Cost, the correct

Cure Cost alleged by the objecting counterparty, together with any applicable and appropriate

documentation in support thereof, and (iv) be filed with the Court and served upon counsel to the

Debtors and counsel to the Buyer so as to be actually received on or before the deadline set forth

in the applicable [Supplemental Cure Notice], which shall be no earlier than ten (10) calendar

days after service thereof. If the parties cannot agree on a resolution of any such objection, the

Debtors will seek an expedited hearing before the Court to determine the Cure Cost or other

matter in dispute and approve the assumption and assignment of such executory contract or

unexpired lease to Buyer. If no objection is filed prior to the applicable objection deadline, then

the counterparties will be deemed to have consented (including consent under Section 365(c)(1)

of the Bankruptcy Code) to the assumption and assignment to Buyer and the Cure Cost, and such

assumption and assignment to Buyer and the Cure Cost shall be deemed approved by this Sale

Order without further order of this Court, provided, however, that a counterparty to an Assumed

Agreement shall not be barred from seeking additional amounts on account of any defaults

occurring between the deadline to object to the Cure Costs set forth in the applicable Cure

Notice and the assumption of the Agreement.

         W.     ExceptTo the greatest extent allowed by applicable law, except as provided in the

Purchase Agreement, the (i) transfer of the Transferred Assets to the Buyer and (ii) assignment

to the Buyer of the Buyer Assumed Agreements, will not subject the Buyer to any liability

whatsoever that arises, or is based on conduct of any Seller that occurred, prior to the Closing or

by reason of such transfer under the laws of the United States, any state, territory, or possession


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thereof, or the District of Columbia, based, in whole or in part, directly or indirectly, on any

theory of law or equity, including, without limitation, any theory of equitable law, any theory of

antitrust, successor, transferee, derivative, or vicarious liability or any similar theory and/or

applicable state or federal law or otherwise.

                                     Prompt Consummation

         X.     Based on the record of the Sale Hearing, and for the reasons stated on the record

at the Sale Hearing, the sale of the Transferred Assets must be approved and consummated

promptly to preserve the value of the Transferred Assets. Time, therefore, is of the essence in

effectuating the Purchase Agreement. As such, the Debtors and the Buyer intend to close the

sale of the Transferred Assets as soon as reasonably practicable.            The Debtors have

demonstrated compelling circumstances and a good, sufficient, and sound business purpose and

justification for the immediate approval and consummation of the Purchase Agreement.

Accordingly, there is sufficient cause to waive the stay provided in Bankruptcy Rules

4001(a)(3), 6004(h), 6006(d) or any other applicable Bankruptcy Rule.

         NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:

                                       General Provisions

         1.     The Sale Motion is GRANTED to the extent set forth herein.

         2.     All objections to or reservation of rights with respect to the Sale Motion or the

relief requested therein that have not been withdrawn or resolved as stated on the record of the

Sale Hearing are overruled. All persons and entities who did not object or withdrew their

objections to the Sale Motion are deemed to have consented pursuant to section 363(f)(2) of the

Bankruptcy Code.




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         3.       The record of these cases, including the Court’s findings of fact and conclusions

of law set forth in the Bidding Procedures Order, are incorporated herein by reference and the

Court takes judicial notice of the record.

         4.       The Purchase Agreement and the other Transaction Documents, and all terms and

conditions thereof, are hereby approved. The failure to specifically include any particular

provision of the Purchase Agreement or any other Transaction Document in this Sale Order shall

not diminish or impair the effectiveness of such provision, it being the intent of the Court that

the Purchase Agreement and other Transaction Documents be authorized and approved in their

entirety.

         5.       The Designated Back-Up Bidder is hereby approved as the [Back-Up Bidder] (as

defined in the Bidding Procedures), and the Designated Back-Up Bid is hereby approved and

authorized as the [Back-Up Bid] (as defined in the Bidding Procedures) in accordance with the

Bidding Procedures. To the extent necessary, the terms and conditions of the Back-Up Bid will

be approved pursuant to a separate sale order to be submitted at a later date consistent with the

terms of the Back-Up Bid[Reserved].

             Transfer of the Transferred Assets as set forth in the Purchase Agreement

         6.       The Debtors are authorized and directed to (a) take any and all actions necessary

or appropriate to perform, consummate, implement, and close the Sale consistent with or in

furtherance of the Sale in accordance with the terms and conditions set forth in the Transaction

Documents and this Sale Order, (b) assume and assign any and all Buyer Assumed Agreements,

and (c) take all further actions and execute and deliver the Transaction Documents and any and

all additional instruments and documents that are consistent with, in furtherance of, or may be

necessary or appropriate to implement the Purchase Agreement and the other Transaction


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Documents and consummate the Sale in accordance with the terms thereof, all without further

order of the Court.

         7.      The Buyer is not acquiring any of the Excluded Assets or assuming any of the

Excluded Liabilities (each as defined in the Purchase Agreement).

         8.      All persons and entities are prohibited and enjoined from taking any action to

adversely affect or interfere with, or which would be inconsistent with, the ability of the Debtors

to transfer the Transferred Assets to the Buyer in accordance with the Purchase Agreement, the

other Transaction Documents and this Sale Order.

         9.      At Closing, all of the Debtors’ right, title, and interest in and to, and possession

of, the Transferred Assets, including the Purchased Avoidance Actions, shall be immediately

vested in the Buyer pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code

with the Sale proceeds to be paid to the Agents at Closing as provided in paragraph 11 below.

Such transfer shall constitute a legal, valid, enforceable, and effective transfer of the Transferred

Assets. All persons or entities, presently or at or after the Closing, in possession of some or all

of the Transferred Assets, are directed to surrender possession of any and all portions of the

Transferred Assets to the Buyer on the Closing Date or at such time thereafter as the Buyer may

request. For the avoidance of doubt, as of the Closing, the Purchased Avoidance Actions shall be

irrevocably waived by the Buyer and the Debtors, as applicable.

         10.     This Sale Order (a) shall be effective as a determination that, as of the Closing

and Agents’ receipt of the Sale proceeds at Closing as provided in paragraph 11 below, (i) the

Transferred Assets shall have been transferred to the Buyer free and clear of all Liens, Claims,

Interests, and other Liabilities, except for Permitted Liens and to the extent set forth in the

Purchase Agreement, and (ii) the conveyances described herein have been effected, and (b) is


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and shall be binding upon and govern the acts of all entities, including, without limitation, all

filing agents, filing officers, title agents, title companies, recorders of mortgages, recorders of

deeds, registrars of deeds, registrars of patents, trademarks, or other intellectual property,

administrative agencies, governmental departments, secretaries of state, federal and local

officials, and all other persons and entities who may be required by operation of law, the duties

of their office, or contract, to accept, file, register, or otherwise record or release any documents

or instruments, or who may be required to report or insure any title or state of title; and each of

the foregoing persons and entities is hereby directed to accept for filing any and all of the

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the Purchase Agreement and the other Transaction Documents.

         11.     At Closing, the net proceeds from the Sale of the Transferred Assets, less the

amount of any Disputed Cure Escrow as set forth in paragraph 21 hereof, shall be paid by wire

transfer directly to Agents in accordance with wire instructions to be provided by the Agents to

the Buyer. With respect to any proceeds remaining after such payment to Agents, all Liens,

Claims, Interests, and other Liabilities with respect to the Transferred Assets shall attach to the

proceeds of the Sale ultimately attributable to the property against which such Liens, Claims,

Interests, and other Liabilities applied, in the same order of priority and with the same validity,

force, and effect that such Liens, Claims, Interests, and other Liabilities applied prior to the Sale,

subject to any rights, claims, and defenses of the Debtors or their estates, as applicable, or as

otherwise provided herein. For the avoidance of doubt, the Committee Settlement Amounts, as

defined and set forth in paragraph 38 of the Order (I) Authorizing the Debtors, on a Final Basis,

to (A) Obtain Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and

Providing Superpriority Administrative Expense Claims to Post-Petition Lenders, (III) Granting


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Adequate Protection to Prepetition Secured Parties, (IV) Modifying the Automatic Stay, and (V)

Granting Related Relief, Pursuant to 11 U.S.C. Sections 105, 361, 362, 363, 364 and 507 [D.I

181] shall be preserved for the benefit of the Debtors’ estates, and not transferred to the Agents

or any other person or entity, from the proceeds of the Sale.

         12.     The Buyer shall receive the benefits and burdens of the Assumed Liabilities and if

the Buyer disputes any alleged charge, credit or payment under any of the Assumed Liabilities

and the parties are unable to come to an agreement regarding the amount owed, the dispute may

be adjudicated by this Court or any other court of competent jurisdiction.

         13.     Except as otherwise provided in this Sale Order or the Purchase Agreement, all

persons and entities (and their respective successors and assigns), including, but not limited to,

all debt security holders, equity security holders, affiliates, governmental, tax, and regulatory

authorities, lenders, customers, vendors, employees, trade creditors, litigation claimants, and

other creditors holding claims of any kind or nature whatsoever against the Debtors or in any

way relating to the Business or the Transferred Assets (whether at this time known or unknown)

are forever barred, estopped, and permanently enjoined from asserting such claims (including,

without limitation, any right of set-off or recoupment) against any Buyer Party and its property

(including, without limitation, the Transferred Assets).

         14.     If any person or entity that has filed financing statements, mortgages, mechanic’s

claims, lis pendens, or other documents or agreements evidencing claims against the Debtors or

in the Transferred Assets shall not have delivered to the Debtors prior to the Closing of the Sale,

in proper form for filing and executed by the appropriate parties, termination statements,

instruments of satisfaction, and/or releases of all Liens, Claims, Interests, and other Liabilities

that the person or entity has with respect to the Debtors or the Transferred Assets or otherwise,


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then only with regard to the Transferred Assets that are purchased by the Buyer pursuant to the

Purchase Agreement and this Sale Order, (a) the Debtors, at their own expense, are hereby

authorized and directed to execute and file such statements, instruments, releases, and other

documents (each a “Release Document”) on behalf of the person or entity with respect to the

Transferred Assets; provided, that with respect to the Liens, Claims, and Interests of Agents any

such Release Document shall be in form and substance reasonably acceptable to the applicable

Agent, (b) the Buyer is hereby authorized to file, register, or otherwise record a certified copy of

this Sale Order, which, once filed, registered, or otherwise recorded, shall constitute conclusive

evidence of the release of all Liens, Claims, Interests, and other Liabilities against each Buyer

Party and the Transferred Assets, and (c) upon consummation of the Sale, the Buyer may seek in

this Court or any other court to compel appropriate parties to execute termination statements,

instruments of satisfaction, and releases of all Liens, Claims, Interests, and other Liabilities that

are extinguished or otherwise released pursuant to this Sale Order under section 363 of the

Bankruptcy Code, and any other provisions of the Bankruptcy Code, with respect to the

Transferred Assets. This Sale Order is deemed to be in recordable form sufficient to be placed

in the filing or recording system of each and every federal, state, or local government agency,

department, or office.     Notwithstanding the foregoing, the provisions of this Sale Order

authorizing the Sale and assignment of the Transferred Assets free and clear of Liens, Claims,

Interests, and other Liabilities shall be self-executing and neither the Debtors nor the Buyer shall

be required to execute or file releases, termination statements, assignments, consents, or other

instruments to effectuate, consummate, and implement the provisions of this Sale Order.




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                               No Successor or Transferee Liability

         15.     No Buyer Party shall be deemed, as a result of any action taken in connection

with the Purchase Agreement, the consummation of the Sale contemplated by the Purchase

Agreement, or the transfer, operation, or use of the Transferred Assets to (a) be a legal successor,

or otherwise be deemed a successor to the Debtors (other than, for the Buyer, with respect to any

Assumed Liabilities), (b) have, de facto or otherwise, merged with or into the Debtors, or (c) be

an alter ego or a mere continuation or substantial continuation of the Debtors or the enterprise of

the Debtors including, without limitation, within the meaning of any foreign, federal, state, or

local revenue law, pension law, ERISA, tax law, labor law, products liability law, employment

law, environmental law, or other law, rule, or regulation (including, without limitation, filing

requirements under any such laws, rules or regulations).

         16.     Other than as expressly set forth in the Purchase Agreement, no Buyer Party shall

have any responsibility for (a) any liability or other obligation of the Debtors or (b) any claims

against the Debtors or any of their predecessors or affiliates. Except as expressly provided in the

Purchase Agreement with respect to the Buyer, no Buyer Party shall have any liability

whatsoever with respect to the Debtors’ (or their predecessors’ or affiliates’) respective

businesses or operations or any of the Debtors’ (or their predecessors’ or affiliates’) obligations

(“Successor or Transferee Liability”) based, in whole or part, directly or indirectly, on any

theory of successor or vicarious liability of any kind or character, or based upon any theory of

antitrust, environmental, successor, or transferee liability, de facto merger or substantial

continuity, labor and employment or products liability, whether known or unknown as of the

Closing, now existing or hereafter arising, asserted or unasserted, fixed or contingent, liquidated

or unliquidated, including, without limitation, liabilities on account of (a) any taxes arising,


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accruing, or payable under, out of, in connection with, or in any way relating to the Transferred

Assets or the Assumed Liabilities prior to the Closing or in respect of pre-Closing periods or (b)

any plan, agreement, practice, policy, or program, whether written or unwritten, providing for

pension, retirement, health, welfare, compensation or other employee benefits which is or has

been sponsored, maintained or contributed to by any Debtor or with respect to which any Debtor

has any liability, whether or not contingent, including, without limitation, any “multiemployer

plan” (as defined in Section 3(37) of ERISA) or “pension plan” (as defined in Section 3(2) of

ERISA) to which any Debtor has at any time contributed, or had any obligation to contribute.

Except to the extent expressly included in the Assumed Liabilities with respect to the Buyer or

as otherwise expressly set forth in the Purchase Agreement, to the greatest extent allowed by

applicable law, no Buyer Party shall have any liability or obligation under any applicable law,

including, without limitation, (a) the WARN Act (29 U.S.C. §§ 2101 et seq.), (b) the

Comprehensive Environmental Response Compensation and Liability Act, (c) the Age

Discrimination and Employment Act of 1967 (as amended), (d) the Federal Rehabilitation Act of

1973 (as amended), (e) the National Labor Relations Act, 29 U.S.C. § 151 et seq., (f) the Fair

Labor Standards Act, (g) the Americans with Disabilities Act of 1990 (as amended), (h) Title VII

of the Civil Rights Act of 1964, (i) the Consolidated Omnibus Budget Reconciliation Act of

1985, or (j) any foreign, federal, state, or local labor, employment or environmental law, by

virtue of the Buyer’s purchase of the Transferred Assets, assumption of the Assumed Liabilities,

or hiring of certain employees of the Debtors pursuant to the terms of the Purchase Agreement.

Without limiting the foregoing, to the greatest extent allowed by applicable law, no Buyer Party

shall have any liability or obligation with respect to any environmental liabilities of the Debtors




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or any environmental liabilities associated with the Transferred Assets except to the extent they

are Assumed Liabilities set forth in the Purchase Agreement.

         17.     Effective upon the Closing, all persons and entities are forever prohibited and

enjoined from commencing or continuing in any matter any action or other proceeding, whether

in law or equity, in any judicial, administrative, arbitral, or other proceeding against any Buyer

Party or their respective assets (including, without limitation, the Transferred Assets), with

respect to any Successor or Transferee Liability including, without limitation, the following

actions, in each case, with respect to any such Successor or Transferee Liability: (i) commencing

or continuing any action or other proceeding pending or threatened; (ii) enforcing, attaching,

collecting, or recovering in any manner any judgment, award, decree, or order; (iii) creating,

perfecting, or enforcing any lien, claim, interest, or encumbrance; (iv) asserting any setoff,

(except for setoffs exercised prior to the Petition Date) or right of subrogation, or recoupment of

any kind; (v) commencing or continuing any action, in any manner or place, that does not

comply with, or is inconsistent with, the provisions of this Sale Order or other orders of this

Court, or the agreements or actions contemplated or taken in respect hereof; or (vi) revoking,

terminating, failing, or refusing to renew any license, permit, or authorization to operate any

business in connection with the Transferred Assets or conduct any of the businesses operated

with respect to such assets.

                                      Good Faith of Buyer

         18.     The Sale contemplated by the Purchase Agreement is undertaken by the Buyer

without collusion and in good faith, as that term is defined in section 363(m) of the Bankruptcy

Code, and accordingly, the reversal or modification on appeal of the authorization provided

herein to consummate the Sale shall not affect the validity of the Sale (including, without


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limitation, the assumption and assignment of the Buyer Assumed Agreements), unless such

authorization and consummation of such Sale are duly and properly stayed pending such appeal.

         19.     Neither the Debtors nor the Buyer have engaged in any action or inaction that

would cause or permit the Sale to be avoided or costs or damages to be imposed under section

363(n) of the Bankruptcy Code. The consideration provided by the Buyer for the Transferred

Assets under the Purchase Agreement is fair and reasonable and the Sale may not be avoided,

and costs and damages may not be imposed, under section 363(n) of the Bankruptcy Code.

                  Assumption and Assignment of Buyer Assumed Agreements

         20.     The Debtors are authorized and directed at the Closing to assume and assign each

of the Buyer Assumed Agreements to the Buyer pursuant to sections 105(a) and 365 of the

Bankruptcy Code and to execute and deliver to the Buyer such documents or other instruments

as may be necessary to assign and transfer the Buyer Assumed Agreements to the Buyer. The

payment by the Buyer of the applicable Cure Costs (if any) under a Buyer Assumed Agreement

shall (a) effect a cure of all defaults existing thereunder as of the Closing, and (b) compensate for

any actual pecuniary loss to such counterparty resulting from such default.

         21.     Those objections identified on the Notice of Agenda (as amended) filed on

September 6, 2023 were timely filed with respect to assumption and assignment of certain Buyer

Assumed Agreements.         The Cure Costs for any Buyer Assumed Agreement to which no

objection was timely filed (including those set forth in the Second Cure Notice to the extent no

objection is timely filed) are hereby fixed at the amounts set forth on the applicable Cure Notice,

and the contract counterparties to such Buyer Assumed Agreements are forever bound by such

Cure Costs, provided, however, that a counterparty to an Assumed Agreement shall not be

barred from seeking additional amounts on account of any defaults occurring between the


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deadline to object to the Cure Costs set forth in the applicable Cure Notice and the assumption of

the agreement. Pursuant to sections 365(b)(1)(A) and (B) of the Bankruptcy Code, the Buyer

shall pay to the applicable contract counterparty the Cure Costs relating to such Buyer Assumed

Agreements at or as soon as reasonably practicable following the Closing. With respect to any

Buyer Assumed Agreements with respect to which a timely objection to the Cure Costs was

timely filed (a “Cure Objection”), the Debtors shall set aside in escrow any disputed Cure Cost

amounts (a “Disputed Cure Escrow”) pending resolution of the applicable Cure Objections

(whether by subsequent Court order or by agreement of the Debtors, the Buyer, and the

applicable contract counterparty), and the Debtors shall pay to the applicable contract

counterparty the amount of any Cure Costs as determined in accordance with this paragraph

within three (3) business days after the Cure Objection is resolved. Upon payment of suchthe

Cure Costs as provided for herein, the contract counterparties to such Buyer Assumed

Agreements are enjoined from taking any action against the Debtors or their estates with respect

to any claim for cure. Subject to and consistent with the terms and conditions of Section 3.03 of

the Purchase Agreement, the Purchase Price shall be subject to potential adjustment on account

of any Cure Cost Deductions.

         22.     Pursuant to section 365(f) of the Bankruptcy Code (subject to Buyer’s payment or

provision of the Cure Costs or the Debtors’ establishment of a Disputed Cure Escrow), the Buyer

Assumed Agreements to be assumed and assigned under the Purchase Agreement shall be

assigned and transferred to, and remain in full force and effect for the benefit of, the Buyer

notwithstanding any provision in the Buyer Assumed Agreements or other restrictions

prohibiting their assignment or transfer. Any provisions in any Buyer Assumed Agreement that

prohibit or condition the assignment of such Buyer Assumed Agreement to the Buyer (including


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the invocation of Section 1927 of the Social Security Act, 42 U.S.C. § 1396r-8, if applicable) or

allow the counterparty to such Buyer Assumed Agreement to terminate, recapture, setoff or

recoup, impose any penalty, condition on renewal or extension, or modify any term or condition

upon the assignment of such Buyer Assumed Agreement to the Buyer, constitute unenforceable

anti-assignment provisions that are void and of no force and effect. All other requirements and

conditions under sections 363 and 365 of the Bankruptcy Code for the assumption by the

Debtors and assignment to the Buyer of the Buyer Assumed Agreements have been satisfied.

Upon the Closing, in accordance with sections 363 and 365 of the Bankruptcy Code, the Buyer

shall be fully and irrevocably vested with all right, title, and interest of the Debtors under the

Buyer Assumed Agreements, and such Buyer Assumed Agreements shall remain in full force

and effect for the benefit of the Buyer. Each counterparty to the Buyer Assumed Agreements

shall, with respect to each Buyer Assumed Agreement, be forever barred, estopped, and

permanently enjoined from (a) asserting against the Debtors or any Buyer Party or their

respective property any assignment fee, acceleration, default, breach or claim or pecuniary loss,

or condition to assignment existing, arising or accruing as of the Closing or arising by reason of

the Closing, including, without limitation, any breach related to or arising out of

change-in-control provisions in such Buyer Assumed Agreements, or any purported written or

oral modification to the Buyer Assumed Agreements and (b) asserting against any Buyer Party

(or its respective property, including, without limitation, the Transferred Assets) any claim,

counterclaim, defense, breach, condition, or setoff asserted, or assertable against the Debtors

existing as of the Closing or arising by reason of the Closing except for the Assumed Liabilities.

         23.     Upon the Closing (or the payment of the Cure Costs or establishment of a

Disputed Cure Escrow, whichever is later), the Buyer shall be deemed to be substituted for the


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Debtors as a party to the applicable Buyer Assumed Agreements and the Debtors shall be

released, pursuant to section 365(k) of the Bankruptcy Code, from any liability under the Buyer

Assumed Agreements.        There shall be no rent or payment accelerations, assignment fees,

increases, or any other fees charged to the Buyer or the Debtors as a result of the assumption and

assignment of the Buyer Assumed Agreements. The failure of the Debtors or the Buyer to

enforce at any time one or more terms or conditions of any Buyer Assumed Agreement shall not

be a waiver of such terms or conditions or of the right of the Debtors or the Buyer, as the case

may be, to enforce every term and condition of such Buyer Assumed Agreement. The validity of

the assumption and assignment of any Buyer Assumed Agreement to the Buyer shall not be

affected by any existing dispute between the Debtors and any counterparty to such Buyer

Assumed Agreement. Any party that may have had the right to consent to the assignment of any

Buyer Assumed Agreement is deemed to have consented for the purposes of section

365(e)(2)(A) of the Bankruptcy Code.

         24.     Buyer has provided adequate assurance of future performance with respect to

each of the Buyer Assumed Agreements within the meaning of sections 365(b)(1)(C) and

365(f)(2)(B) of the Bankruptcy Code.

         25.     The assignments of each of the Buyer Assumed Agreements are made in good

faith under sections 363(b) and (m) of the Bankruptcy Code.

                                        Other Provisions

         26.     To the extent provided by section 525 of the Bankruptcy Code, no governmental

unit (federal or state) may revoke or suspend any permit or License relating to the Transferred

Assets sold, transferred, or conveyed to the Buyer on account of (i) the filing or pendency of

these Chapter 11 Cases or (ii) the consummation of the Sale contemplated by the Purchase


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Agreement or the failure of the Debtors to pay any pre-petition claims of such governmental

unit.

         27.     The Buyer shall not be required to seek or obtain relief from the automatic stay

under section 362 of the Bankruptcy Code to enforce any of its remedies or exercise any of its

rights under the Purchase Agreement or any other Sale-related document. The automatic stay

imposed by section 362 of the Bankruptcy Code is modified solely to the extent necessary to

implement the preceding sentence, provided, however, that this Court shall retain exclusive

jurisdiction over any and all disputes with respect thereto.

         28.     The terms and provisions of the Purchase Agreement, the other Transaction

Documents and this Sale Order shall be binding in all respects upon the Debtors, their affiliates,

their estates, all creditors of (whether known or unknown) and holders of equity interests in any

Debtor, any holders of claims against or on all or any portion of the Transferred Assets, all

counterparties to the Buyer Assumed Agreements, the Buyer, and all of their respective

successors and assigns including, but not limited to, any subsequent trustee(s) appointed in any

of the Debtors’ Chapter 11 Cases or upon conversion of any of the Chapter 11 Cases to a case

under chapter 7 of the Bankruptcy Code, as to which trustee(s) such terms and provisions

likewise shall be binding.      The Purchase Agreement shall not be subject to rejection or

avoidance by the Debtors, their estates, their creditors, their shareholders, or any trustee(s).

         29.     The terms and provisions of this Sale Order and any actions taken pursuant hereto

shall survive entry of an order which may be entered: (a) confirming any chapter 11 plan in any

of these Chapter 11 Cases; (b) converting any of the Chapter 11 Cases to a case under chapter 7

of the Bankruptcy Code; (c) dismissing any of the Chapter 11 Cases; or (d) pursuant to which

this Court abstains from hearing any of the Chapter 11 Cases. The terms and provisions of this


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Sale Order, notwithstanding the entry of any such orders described in (a)-(d) above, shall

continue in these Chapter 11 Cases, or following dismissal of these Chapter 11 Cases.

         30.     Each and every federal, state, and local governmental agency, department, or

official is hereby directed to accept any and all documents and instruments necessary and

appropriate to consummate the transactions contemplated by the Purchase Agreement (including

any document requesting a name change or assignment thereof and regardless of whether such

agency or department has a Claim against the Debtors).

         31.     The Purchase Agreement and the Sale contemplated hereunder shall not be

subject to any bulk sales laws or any similar law of any state or jurisdiction.

         32.     Nothing in this Sale Order or the Purchase Agreement releases, nullifies,

precludes, or enjoins the enforcement of any police or regulatory liability to a governmental unit

that any entity would be subject to as the post-sale owner or operator of property after the date of

entry of this Sale Order; provided, however, that (i) nothing herein shall subject the Buyer to any

liability to a governmental unit for penalties for days of violation prior to closing, and (ii) Buyer

shall retain all rights and defenses it may have under non-bankruptcy law with respect to any

police or regulatory action brought by governmental units. Nothing in this Sale Order or the

Purchase Agreement authorizes the transfer or assignment of any governmental (a) license, (b)

permit, (c) registration, (d) authorization or (e) approval, or the discontinuation of any obligation

thereunder, without compliance with all applicable legal requirements and approvals under

police or regulatory law. Nothing in this Sale Order divests any tribunal of any jurisdiction it

may have under police or regulatory law to interpret this Sale Order or to adjudicate any defense

asserted under this Sale Order.




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         33.     The terms of the Purchase Agreement may be waived, modified, amended, or

supplemented by the parties thereto in accordance with the terms thereof, without further order

of the Court, provided that any such waiver, modification, amendment, or supplement does not,

based on the Debtors’ business judgment, and in consultation with the [Consultation Parties],

have an adverse effect on the Debtors’ estates or the Agents. The Debtors shall provide the

[Consultation Parties] with reasonable prior written notice (which may be by e-mail to counsel

of record for each [Consultation Party]) under the circumstances of any such waiver,

modification, amendment, or supplement of the Purchase Agreement. For the avoidance of

doubt, all other waivers, modifications, amendments, or supplements to the terms of the

Purchase Agreement shall require Court approval.

         34.     Any claim of the Buyer in respect of fees, costs, and expenses payable under the

Transition Services Agreement and Reverse Transition Services Agreement shall constitute

allowed administrative expense claims under sections 503(b)(1) and 507(a)(2) of the Bankruptcy

Code.

         35.     Notwithstanding anything to the contrary in this Sale Order, or any Notice related

thereto, the Employee Benefits Agreements (as defined in the Objection of Cigna to Debtors’

Motion for Entry of an Order (I) Approving Bidding Procedures for the Sale of Assets, (II)

Scheduling Hearings and Objection Deadlines With Respect to the Debtors’ Authority to Sell,

(III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form and Manner of Notice

Thereof, (V) Approving Contract Assumption and Assignment Procedures, and (VI) Granting

Related Relief [Docket No. 142]) shall be assumed and assigned to the Buyer as of the Closing

Date, and, in lieu of cure, all obligations due and unpaid under the Employee Benefits

Agreements accruing prior to the Closing Date shall pass through and survive assumption and


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assignment, and nothing in this Sale Order or section 365 of the Bankruptcy Code shall affect

such obligations. The terms of paragraph 4 are incorporated in this paragraph 35 as if fully set

forth herein.

         36.     Harco National Insurance Company (“Harco”) issued certain surety bonds on

behalf of the Debtors (collectively, the “Existing Surety Bonds” and, each individually, an

“Existing Surety Bond”). The Existing Surety Bonds were issued pursuant to that certain

Agreement of Indemnity dated April 19, 2021 (the “Existing Indemnity Agreement”) executed

by one or more of the Debtors. Nothing in this Sale Order, the Purchase Agreement, or the Sale,

or any documents related to any of the foregoing shall:

                 (a)   Be construed to authorize or permit the assumption and assignment
                       of any Existing Surety Bond, or the Existing Indemnity
                       Agreement, or to obligate Harco to replace any Existing Surety
                       Bond in connection with the Sale;

                 (b)   Be deemed to provide Harco’s consent to the involuntary
                       substitution of any principal under any Existing Surety Bond and
                       Existing Indemnity Agreement. Additionally, the Buyer shall not
                       be deemed a substitute principal under any Existing Surety Bond
                       or the Existing Indemnity Agreement; or

                 (c)   Be deemed to (i) alter, limit, modify, release, waive or prejudice
                       any rights, remedies and/or defenses of Harco under any Existing
                       Surety Bond, (ii) alter, limit, modify, release, waive or prejudice
                       any rights of Harco under the Existing Indemnity Agreement, (iii)
                       alter, limit, modify, release, waive or prejudice any rights of Harco
                       under the Order Granting Relief from the Automatic Stay and for
                       Adequate Protection [Docket No. 226], or other order of this
                       Court, or (iv) alter, limit, modify, release, waive or prejudice any
                       rights of Harco against the Debtors in respect of any of the
                       foregoing. The Debtors reserve all rights with respect to any of
                       Harco’s claims against the Debtors.

         37.     Pursuant to the Notice of Successful Bidder’s Assumption and Assignment of

Executory Contracts and Unexpired Leases [Docket No. 289] (the “Assumption Notice”), the

Buyer intends to have the Debtors assume and assign to the Buyer the following contracts


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(collectively, the “Assumed Con Edison Contracts”) with Consolidated Edison Company of New

York, Inc. (“Con Edison”):

               (a)     Purchase Order # 5634925, between Con Edison and Williams
                       Specialty Services, LLC, relating to the Debtors’ installation of a
                       36-inch gas main and related work on the Bronx River;

               (b)     Purchase Order # 5426662, between Con Edison and Williams
                       Specialty Services, LLC, relating to replacement of an elevator in
                       the Brooklyn Shaft of the Hudson Avenue Tunnel; and

               (c)     Blanket Purchase Agreement # 5921728, between Con Edison and
                       Williams Specialty Services, LLC, relating to civil repairs for
                       various generating stations, substations and facilities locations
                       throughout the Con Edison & Orange and Rockland Utilities, Inc.
                       service territory, the term of which commenced May 20, 2023 and
                       expires May 31, 2026.

         On September 1, 2023, Con Edison filed its Objection of The Consolidated

Edison Company of New York, Inc. to Notice to Contract Counterparties to Potentially

Assumed Executory Contracts and Unexpired Leases [Docket No. 257] (the “Con Edison

Cure Objection”), objecting inter alia to the cure amounts proposed by the Debtors for

assumption and assignment of the Assumed Con Edison Contracts and raising issues

concerning the Buyer’s adequate assurance of future performance under the Assumed

Con Edison Contracts. The Debtors, Con Edison and the Buyer agree to adjourn the

status hearing on the Con Edison Cure Objection to September 20, 2023 at 10:30 a.m.

(the “Adjourned Con Edison Contract Status Hearing”) while the parties attempt to reach

a resolution of the issues raised therein as follows:

               (a)     The Debtors, Con Edison, and the Buyer agree to continue to
                       exchange documents and information regarding the monetary cure
                       amounts required for the Assumed Con Edison Contracts; and

               (b)     With respect to adequate assurance of future performance, the
                       Buyer agrees to submit to Con Edison’s Qualification Process (as
                       defined and described in the Con Edison Cure Objection) to
                       become a qualified Con Edison contractor. If the Buyer qualifies

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                        as an approved Con Edison subcontractor/vendor after submitting
                        to the Qualification Process, the Con Edison Cure Objection as to
                        the adequate assurance of future performance requirement shall be
                        deemed resolved. If, however, the Buyer fails to qualify as an
                        approved Con Edison contractor through the Qualification Process,
                        the parties shall litigate any such unresolved issues at some agreed
                        upon future hearing date.

         38.     34. From time to time, as and when requested by any party, each party shall

execute and deliver, or cause to be executed and delivered, all such documents and instruments

and shall take, or cause to be taken, all such further or other actions as such other party may

reasonably deem necessary or desirable to consummate the Sale without further order of the

Court, including, such actions as may be necessary to vest, perfect or confirm, or record or

otherwise, in the Buyer its right, title and interest in and to the Transferred Assets and the Buyer

Assumed Agreements.

         39.     35. The failure specifically to include any particular provisions of the Purchase

Agreement or the Transaction Documents in this Sale Order shall not diminish or impair the

effectiveness of such provision, it being the intent of the Court, the Debtors, and the Buyer that

the Purchase Agreement and Transaction Documents are authorized and approved in their

entirety with such amendments thereto as may be made by the parties in accordance with this

Sale Order. Likewise, all of the provisions of this Sale Order are nonseverable and mutually

dependent.

         40.     36. All time periods set forth in this Sale Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

         41.     37. Notwithstanding the possible applicability of Bankruptcy Rules 4001(a)(3),

6004(h), 6006(d), 7062, 9014 or any other applicable Bankruptcy Rule, or Rule 62(a) of the

Federal Rules of Civil Procedure, the terms and conditions of this Sale Order shall be


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immediately effective and enforceable upon its entry, there shall be no stay of execution or

effectiveness of this Sale Order, and the Debtors and the Buyer are authorized to close the Sale

immediately upon entry of this Sale Order.

         42.     38. To the extent there is any conflict between the terms of this Sale Order and

the Purchase Agreement, the terms of this Sale Order shall control. Nothing contained in any

chapter 11 plan hereinafter confirmed in these Chapter 11 Cases or any order confirming such

chapter 11 plan, or any other order of the Court, shall conflict with or derogate from the

provisions of the Purchase Agreement or any other Transaction Document or the terms of this

Sale Order.

         43.     39. This Court shall retain exclusive jurisdiction to: (a) interpret, implement, and

enforce the terms and provisions of this Sale Order, the Bidding Procedures Order, and the

Purchase Agreement and other transaction documents, including all amendments thereto and any

waivers and consents thereunder and each of the agreements executed in connection therewith;

and (b) decide any issues or disputes concerning this Sale Order and the Purchase Agreement or

the rights and duties of the parties hereunder or thereunder, including any disputed Cure Costs

and the interpretation of the terms, conditions, and provisions hereof and thereof, and the status,

nature, and extent of the Transferred Assets.


Wilmington, Delaware
Dated: _______________, 2023
                                                UNITED STATES BANKRUPTCY JUDGE




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                                        Exhibit 1

                                   Purchase Agreement




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                                       Exhibit 2

                                 Side Letter Amendment




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Document 1 ID
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                    3.DOCX
Description         00054333
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Legend:
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Statistics:
                                       Count
Insertions                              125
Deletions                                88
Moved from                                2
Moved to                                  2
Style changes                             0
Format changes                            0
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